                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

CHRISTOPHER E. DORWORTH,

     Plaintiff,
v.
                                             Case No.: 6:23-cv-00871-CEM-DCI
JOEL MICAH GREENBERG,
ANDREW W. GREENBERG, SUSAN
GREENBERG, ABBY GREENBERG,
AWG, INC., GREENBERG DENTAL
ASSOCIATES, LLC, GREENBERG
DENTAL & ORTHODONTICS, P.A.,
GREENBERG DENTAL SPECIALTY
GROUP, LLC, and A.B.,

      Defendants.

      GREEENBERG DENTAL DEFENDANTS’ MOTION TO DISMISS
                   AMENDED COMPLAINT

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants

Greenberg Dental Associates, LLC, Greenberg Dental & Orthodontics, P.A., and

Greenberg Dental Specialty Group, LLC (collectively, the “Greenberg Dental

Defendants”) move to dismiss Plaintiff’s Amended Complaint (Doc. 62) for failure

to state a cause of action.

                                INTRODUCTION

       Shrugging off many of the criticisms in Defendants’ motions to dismiss his

original Complaint, Plaintiff Christopher Dorworth (“Dorworth”) has once again

tried to invoke the civil provisions of the Racketeer Influenced and Corrupt

Organizations Act (“RICO”) to bring claims for treble damages based on alleged

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harm caused by his prior association with Defendant Joel Greenberg. Like its

predecessor, Dorworth’s Amended Complaint is improperly pleaded and fails to

allege any viable claim under RICO or state law. The Greenberg Dental Defendants

move to dismiss the Amended Complaint for failure to state a cause of action under

Rule 12(b)(6).

       Rather than alleging a short and plain statement of the facts, Dorworth has

once again filed a vague, conclusory, and overly dramatized pleading spanning 62

pages and 498 paragraphs.1 But the prolixity of the Amended Complaint cannot hide

its complete lack of substance. For all its length, the Amended Complaint still lacks

the one thing necessary to satisfy Dorworth’s pleading burden: actual allegations of

fact supporting his claims against the Greenberg Dental Defendants.

       In his new pleading, Dorworth abandons his original theory of liability against

the Greenberg Dental Defendants. His original Complaint alleged that the Greenberg

Dental Defendants operated a “pill mill” that illegally sold opioids to dental patients.

The Amended Complaint deletes these allegations, drops the substantive RICO

claims, and replaces them a claim for conspiracy to violate the federal and state

RICO statutes (Counts II and IV). It also realleges state law claims for aiding and

abetting defamation (Count VI), and civil conspiracy (Count VII).

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 Compounding the confusion, the Amended Complaint incorporates by reference the entirety of the
original Complaint it replaces. Doc. 62 ¶ 348. Because the excessive incorporation of the prior
complaint would create an unwieldy shotgun pleading that defies any logical response, the
Greenberg Dental Defendants hereby move to strike paragraph 348 of the Amended Complaint
under Rule 12(f) of the Federal Rules of Civil Procedure. See Terrell v. Direct TV, LLC, No. 12-81244-
CIV, 2013 WL 451914, at *2 (S.D. Fla. Feb. 6, 2013) (finding that complaint which “merged several
different complaints into one” was a shotgun pleading that violated Rules 8 and 10(b)).
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       But as with the original Complaint, the Amended Complaint contains no

factual allegations sufficient to state a plausible cause of action against the Greenberg

Dental Defendants. Aside from the introductory allegations identifying them, in fact,

the Greenberg Dental Defendants themselves are barely mentioned in the Amended

Complaint at all. And all Greenberg Dental is really alleged to have done is provide

a source of income for Defendant Andrew Greenberg that he used to support his

family. However, operating a successful business that financially benefits the owners

is neither an act of racketeering nor a basis for inferring participation in a

racketeering conspiracy.2 Dorworth’s liberal use of group-pleading only highlights

the Amended Complaint’s complete lack of substantive allegations against the

Greenberg Dental Defendants.

       Indeed, when stripped of its sensationalized language, unsupported legal

conclusions, and group-pled allegations, the Amended Complaint contains no non-

conclusory allegations of fact from which to infer (1) the existence of a RICO

conspiracy between the Defendants; (2) that the Greenberg Dental Defendants knew

about, let alone aided and abetted, any defamatory statements made about

Dorworth, or (3) that the Greenberg Dental Defendants conspired with the other

Defendants to defame Dorworth.



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 This is true even if Andrew Greenberg did use some of his earnings to support his troubled son,
Defendant Joel Greenberg, which is all that Dorworth has accused Andrew and Susan Greenberg of
here. See Knight v. Merhige, 133 So. 3d 1140, 1146-47 (Fla. 4th DCA 2014) (holding that “parents
‘may not be held legally responsible for the conduct of their emancipated, adult child’”) (quoting
Carney v. Gambel, 751 So. 2d 653, 654 (Fla. 4th DCA 1999)).
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      It seems apparent that Dorworth is well aware of these glaring deficiencies in

his latest pleading, but chose to file it anyway in the hopes of using discovery to

unearth a viable claim. Dorworth all but concedes he is on a fishing expedition,

reassuring the Court that his allegations are “likely to have evidentiary support after

a reasonable opportunity for further investigation, discovery, and public records

requests, some of which is currently pending.” Doc. 62 ¶ 41. But the Eleventh Circuit

has made it clear that RICO is a powerful weapon that must be used with restraint

and only after the facts supporting a claim are known:

        Particularly with regard to civil RICO claims, plaintiffs must stop and
        think before filing them…. When used improperly, as in this case,
        those provisions allow a complainant to shake down his opponent
        and, given the expense of defending a RICO charge, to extort a
        settlement. Such improper use of the civil RICO provisions comes at
        the expense of the federal judiciary and those who need ready access
        to the courts.

Pelletier v. Zweifel, 921 F.2d 1465, 1522 (11th Cir. 1991) (emphasis in original)

(sanctioning plaintiff for improper RICO filing); see also Katzman v. Victoria's Secret

Catalogue, 167 F.R.D. 649, 655 (S.D.N.Y. 1996), aff'd, 113 F.3d 1229 (2d Cir. 1997)

(RICO is “an unusually potent weapon—the litigation equivalent of a thermonuclear

device”).

      Because the Amended Complaint fails to state any plausible cause of action

against the Greenberg Dental Defendants, all of the claims against them should be

dismissed.



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                                LEGAL STANDARD

      To survive a motion under Rule 12(b)(6), a “plaintiff must plead more than

‘labels and conclusions' or ‘a formulaic recitation of the elements of a cause of

action.”’ McCullough v. Finley, 907 F.3d 1324, 1333 (11th Cir. 2018) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). As the Eleventh Circuit has instructed,

courts first “identify conclusory allegations and then discard them—not ‘on the

ground that they are unrealistic or nonsensical’ but because their conclusory nature

‘disentitles them to the presumption of truth.”’ Id. (quoting Ashcroft v. Iqbal, 556 U.S.

662, 681 (2009)). Having done so, the court is then to “assume any remaining factual

allegations are true and determine whether those factual allegations ‘plausibly give

rise to an entitlement to relief.”’ Id. (quoting Iqbal, 556 U.S. at 679). “That is, a

complaint must contain factual allegations that are enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555. Neither “bald assertions” nor

“unwarranted deductions of fact” are sufficient to overcome a motion to

dismiss. Aldana v. Del Monte Fresh Produce, N.A., Inc., 416 F.3d 1242, 1248 (11th Cir.

2005). In addition to the pleading requirements under Rule 12(b)(6), parties alleging

RICO claims based on fraud must “state with particularity the circumstances

constituting fraud or mistake.” Fed. R. Civ. P. 9(b).




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                                     ARGUMENT

      I.     The Amended Complaint violates Rules 8 and 9(b).

      Under Rule 8(a) of the Federal Rules of Civil Procedure, a complaint must

provide a defendant with fair notice of the factual basis of the plaintiff’s claim. Fed.

R. Civ. P. 8(a). To satisfy Rule 8(a), a complaint must set forth “minimal

individualized allegations to distinguish their conduct.” Ct. Appointed Receiver of

Lancer Offshore, Inc. v. Citco Grp. Ltd., No. 05-60080CIV, 2008 WL 926512, at *3 (S.D.

Fla. Mar. 31, 2008). The allegations must at least notify each defendant “as to which

of their personal actions give rise to the claim upon which the Complaint is based.”

Eidson v. Arenas, 155 F.R.D. 215, 220 (M.D. Fla. 1994). Thus, “Rule 8(a) is violated

where a plaintiff, by engaging in ‘group pleading,’ fails to give each defendant fair

notice of the claims against it.” Parker Auto Body Inc. v. State Farm Mut. Auto. Ins. Co.,

No. 614CV6004ORL31TBS, 2016 WL 4086777, at *5 (M.D. Fla. Apr. 5, 2016),

report and recommendation adopted sub nom. Parker Auto Body Inc v. State Farm Mut. Auto.

Ins. Co., No. 614CV6004ORL31TBS, 2016 WL 4041000 (M.D. Fla. July 28, 2016)

(internal quotation and citation omitted).

      Moreover, civil RICO claims, which are essentially a certain breed of fraud

claims, must be pled with heightened specificity. See Fed. R. Civ. P. 9(b); Brooks v.

Blue Cross and Blue Shield of Florida, Inc., 116 F.3d 1364, 1380–81 (11th Cir.1997).

Where a complaint alleges fraud-based claims against multiple defendants, Rule

9(b) requires specific allegations with respect to each defendant. Brooks, 116 F.3d at

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1380–81 (11th Cir.1997). These specific allegations “should inform each defendant of

the nature of his alleged participation in the fraud.” Ambrosia Coal & Const. Co. v.

Pages Morales, 482 F.3d 1309, 1317 (11th Cir. 2007); see also Cisneros v. Petland, Inc.,

972 F.3d 1204, 1211 (11th Cir. 2020) (dismissing RICO claims that “lumped

together” defendants in alleging fraud). To satisfy the Rule 9(b) standard, RICO

complaints must at a minimum allege: (1) the precise statements, documents, or

misrepresentations made; (2) the time and place of and person responsible for the

statement; (3) the content and manner in which the statements misled the plaintiffs;

and (4) what the defendants gained by the alleged fraud. Brooks, 116 F.3d at 1380–81.

        Dorworth’s Amended Complaint does not comply with the minimal pleading

requirements. Throughout the Amended Complaint, Dorworth impermissibly groups

the three Greenberg Dental Defendants together as “Greenberg Dental,” even

though they are separate entities.3 Dorworth then goes a step further and lumps the

three Greenberg Dental entities together with Defendants Joel Greenberg, Andrew

Greenberg, Susan Greenberg, and AWG as the “Greenbergs.”4 Finally, Dorworth

lumps all the Defendants together and refers to them collectively either as

“Defendants”5 or as the “Greenberg Enterprise.”6 Dorworth’s heavy reliance on


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  Doc. 62, ¶¶ 23, 25, 102, 126, 127, 266, 268, 271, 272, 276, 294, 302, 304, 305, 308, 309, 310, 312,
323, 392, 412, 459.
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  See id. ¶¶ 24, 101, 104, 107, 317, 319, 325, 326, 388, 389, 397.
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  See, e.g., id. ¶¶ 6, 8, 9, 11, 12, 13, 44, 45, 84, 104, 128, 167, 185, 203, 233, 237, 259, 260, 261, 263,
286, 290, 291, 293, 350, 362, 363, 365, 369, 413, 414, 415, 422, 427, 438, 439, 442, 460-63, 466, 467,
472, 473, 475.
6
  See id. ¶¶ 29, 137, 199, 203, 233, 264-66, 277, 278, 280-91, 302-04, 306. 314, 316, 323, 382-84, 400,
402, 407, 413, 423, 430, 431, 437-38.
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group pleading with no differentiation among the Defendants is highly improper in a

civil RICO case and fails to satisfy the even minimal pleading requirements of Rules

8(a). See Pierson v. Orlando Reg’l Healthcare Sys., Inc., 619 F. Supp. 2d 1260, 1273–74

(M.D. Fla. 2009) (finding “group pleading” as a basis to dismiss).

          The Amended Complaint contains scarcely any individualized allegations of

wrongdoing against the Greenberg Dental Defendants. In fact, after introducing the

Greenberg Dental Defendants as parties in paragraphs 20-25, the Amended

Complaint only refers to them separately from the other Defendants a total of 22

times. The sole “General Allegations” against Greenberg Dental are not predicate

acts under RICO or other specific claims of wrongdoing, but instead obscure

allegations that Greenberg Dental provided “funding” for the Greenbergs, with

purported knowledge that some of the funds would be used for some improper or

unlawful purpose.7 These extremely vague and conclusory allegations do not identify

a single affirmative act committed by any of the Greenberg Dental Defendants, or

anyone acting on behalf of the Greenberg Dental Defendants, that might infer their

participation in a farfetched racketeering conspiracy to harm Dorworth.

          Dorworth’s Amended Complaint does not contain individualized allegations

sufficient to inform the Greenberg Dental Defendants of the factual basis for the

claims against them. Dorworth’s indiscriminate overuse of group-pleading makes it

almost impossible to determine what alleged acts Greenberg Dental Defendants are


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    Id. ¶¶ 102, 126, 127, 276, 294, 302, 304, 308, 312, 323, 392.
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accused of committing. The Greenberg Dental Defendants should not have to

depend on discovery simply to decipher the factual basis for Dorworth’s claims.

Because the Amended Complaint fails to satisfy Rules 8 and 9, it must be dismissed.

         II. The Amended Complaint fails to state a RICO conspiracy claim.

         RICO claims are frequently dismissed at the pleading stage because the

overused RICO statute is not intended to remedy “garden variety fraud claims.”

DeBoskey v. SunTrust Mortgage, Inc., No. 8:14-cv-1778-MMS-TGW, 2017 WL

4083557, at *8 (M.D. Fla. Sep. 14, 2017). For that reason, “courts have an obligation

to scrutinize civil RICO claims early in the litigation—to separate the rare complaint

that actually states a claim for civil RICO and should strive to flush out frivolous

RICO allegations at an early stage of the litigation.” Id. (citation and internal

quotations omitted). This is not one of those “rare complaints” that actually states a

RICO claim.

         The RICO statute authorizes a civil cause of action for any person “injured in

his business or property by reason of a violation” of RICO. Id. § 1964(c). “A private

plaintiff suing under the civil provisions of RICO must plausibly allege six elements:

that the defendants (1) operated or managed (2) an enterprise (3) through a pattern

(4) of racketeering activity that included at least two predicate acts of racketeering,

which (5) caused (6) injury to the business or property of the plaintiff.” Cisneros, 972

F.3d at 1211; accord Langford v. Rite Aid of Ala., Inc., 231 F.3d 1308, 1311-12 (11th Cir.

2000).

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      Section 1962(d) of the RICO statutes makes it illegal for anyone to conspire to

violate one of the substantive provisions of RICO, including § 1962(c). 18 U.S.C. §

1962(d). “A plaintiff can establish a RICO conspiracy claim in one of two ways: (1)

by showing that the defendant agreed to the overall objective of the conspiracy; or (2)

by showing that the defendant agreed to commit two predicate acts.” Am. Dental

Ass'n v. Cigna Corp., 605 F.3d 1283, 1293 (11th Cir. 2010) (quotation omitted).

Further, “[t]o be guilty of conspiracy, ... parties must have agreed to commit an act

that is itself illegal--parties cannot be found guilty of conspiring to commit an act that

is not itself against the law.” Kivisto v. Miller, Canfield, Paddock & Stone, PLC, 413 F.

App'x 136, 139 (11th Cir. 2011) (internal quotation and citation omitted). A RICO

conspiracy claim cannot exist without a viable underlying RICO claim. See Cisneros,

972 F.3d at 1220 (where underlying RICO claim failed, RICO conspiracy claim

likewise failed).

      In the Amended Complaint, Dorworth has dropped his substantive RICO

claims against the Greenberg Dental Defendants and replaced them with a federal

and Florida RICO conspiracy claim. But he still fails to state a cause of action.

Dorworth’s RICO conspiracy claims fail because the Amended Complaint has not

adequately an underlying substantive violation of RICO, but even if he had, he still

has not alleged a conspiracy to violate RICO. In particular, the Amended Complaint

has not plausibly alleged: (1) the existence of a RICO criminal enterprise; (2) a




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pattern of racketeering activity; or (3) that the Greenberg Dental Defendants agreed

to violate RICO. Dorworth’s RICO claims should be dismissed.

      A.     Dorworth has not adequately alleged a substantive RICO violation.

             1.     Dorworth has not alleged the existence of a RICO enterprise.

      Dorworth’s conspiracy claim fails because he fails to properly allege the

existence of a continuing criminal enterprise. To allege a violation of any subsection

of section 1962, Dorworth must allege facts sufficient to demonstrate a RICO

enterprise through which the alleged acts of racketeering were conducted. Jackson v.

BellSouth Telecomm., 372 F.3d 1250, 1264 (11th Cir. 2004). What Dorworth is trying

to do, but fails miserably to do, is plead that the Defendants formed an association-

in-fact RICO enterprise.

      “An ‘association-in-fact” enterprise is a continuing unit that functions with a

common purpose.’” Cisneros, 972 F.3d at 1211 (quoting Boyle v. United States, 556

U.S. 938, 948 (2009)). To plead an association-in-fact enterprise, a plaintiff must

allege facts establishing at least three structural features: (1) a common purpose; (2)

relationships among those associated with the enterprise; and (3) longevity sufficient

to permit the associates to pursue the enterprise’s purpose. Boyle, 556 U.S. at 946; see

also First Capital Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159, 174-75 (2d Cir.

2004) (enterprise requirement not met where plaintiff did not allege “solid

information regarding the hierarchy, organization, and activities of this association-




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in-fact enterprise, from which the court could conclude that its members functioned

as a unit”).

      Dorworth has not alleged the structural features of an enterprise in his

Amended Complaint. No distinctness, cohesiveness, or coordination between the

members of the alleged Greenberg Enterprise has been alleged. Moreover, Plaintiff

has not alleged any facts whatsoever to show the existence of an enterprise as

opposed to parents providing financial support to their son using income derived

from the legitimate business operations of Greenberg Dental.

       For example, Plaintiff fails to plead any facts that show the Defendants acted

with a common purpose to engage in illegal activity. Other than speculating that

these entities and individuals, grouped together as the “Greenberg Enterprise,” Doc.

62 ¶ 266, are somehow related, there are no allegations that explain how Greenberg

Dental and the other Defendants shared a common purpose to engage in illegal

activity or how each associated together for that illegal purpose.

       To satisfy the “common purpose” requirement for a RICO enterprise, a

plaintiff must establish “not only that there was some commonly shared purpose

among [the alleged associates], but also that they associated together for that purpose.”

Aim Recycling of Fla., LLC v. Metals USA, Inc., 18-CV-60292, 2020 WL 209860, at *15

(S.D. Fla. Jan. 13, 2020) (citing Lockheed Martin Corp. v. Boeing Co., 357 F. Supp. 2d

1350, 1362 (M.D. Fla. 2005)). Merely reciting a purported connection between each

alleged member of the “Greenberg Enterprise” is not enough. To prove sufficient

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relationships for an associated-in-fact enterprise, “the group must function as a

continuing unit,” not merely through independent, parallel conduct. Id. (citing Boyle,

556 U.S. at 948 (emphasis added); Almanza v. United Airlines, Inc., 851 F.3d 1060,

1068 (11th Cir. 2017)).

       Despite having an entire section in his Amended Complaint titled

“Description of the RICO Enterprise” spanning 27 paragraphs, Dorworth’s

allegations do not come close to meeting this requirement. Dorworth alleges in

conclusory fashion that “[t]he Members of the Greenberg Enterprise shared a

common purpose of mitigating Joel and others’ criminal liability by falsely

implicating others, were related to each other by family and financial ties as stated

herein, and worked together for at least several years.” Id. ¶ 265. He goes on to allege

that “[t]he Greenbergs have been associated with Greenberg Dental continuously

since the entities making up Greenberg Dental were incorporated between 2009 and

2012”, “Joel also worked with Greenberg Dental”, and “[t]he Greenbergs used

monies from Greenberg Dental and AWG to fund their lifestyle.” Id. ¶¶ 268, 271,

276.

       Alleging that the Defendants, except for A.B., are related in that they all are or

were members of the Greenberg family or were Greenberg family companies, does

not infer the existence of a criminal enterprise for purposes of RICO. Plaintiff has

undeniably failed at alleging the Defendants shared a common purpose to engage in

illegal activity and that they associated together for that illegal purpose. In fact,

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Dorworth basically admits that the conduct he alleges was only committed by one

person, Joel, alleging that “Joel Greenberg is the protagonist of the Greenberg

Enterprise and coordinated many of its activities.” Id. ¶ 285. What is still unclear

from the Amended Complaint is how the Greenberg Dental Defendants were part of

this alleged enterprise when their only alleged acts are running a dental business and

providing a source of financial support to the Greenbergs. The Greenberg Dental

Defendants’ independent conduct of running a successful dental business and

making money that was used to “fund [the Greenberg’s] lifestyle”—which is all that

has been alleged in the Amended Complaint—does not in any way support an

inference that they associated with the other Defendants for an illegal purpose.

      Where a business is alleged to be involved in a RICO enterprise, there must be

some conduct that goes beyond general, self-interested business activity. See Cisneros,

341 F. Supp. 3d at 1373-74 (citing Parm v. Nat'l Bank of Cal. N.A., 242 F. Supp. 3d

1321, 1347 (N.D. Ga. 2017) (finding that the allegations were “more consistent with

[the] Defendant conducting its own business initiatives” and were therefore “not

sufficient to plead a RICO enterprise”); Singh v. NYCTL 2009-A Tr., 14 Civ. 2558,

2016 WL 3962009, at *10 (S.D.N.Y. July 10, 2016) (“the mere existence of routine

business relationships among the defendants is insufficient to establish an ‘enterprise’

under RICO”)). Greenberg Dental conducting self-interested business activities, and

making a profit while doing so, is not at all indicative of participation in an alleged

RICO enterprise.

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      Dorworth has not alleged facts to show that the Greenberg Dental Defendants

conducted anything other than routine business initiatives or that they associated

with the other Defendants as part of an unlawful scheme against Dorworth. Because

Dorworth has failed to satisfy his burden to allege actual facts sufficient to

demonstrate the existence of an association-in-fact RICO enterprise between the

Defendants, his RICO claims (Counts II and IV) against the Greenberg Dental

Defendants must be dismissed.

             2.     Dorworth has not alleged a pattern of racketeering activity.

      The Amended Complaint also fails to allege a “pattern of racketeering

activity” as required to state a substantive RICO claim. To establish a pattern of

racketeering activity, a plaintiff must allege that “(1) the defendants committed two

or more predicate acts within a ten-year time span; (2) the predicate acts were related

to one another; and (3) the predicate acts demonstrated criminal conduct of

a continuing nature.” Jackson v. BellSouth Telecommunications, 372 F.3d 1250, 1264

(11th Cir. 2004) (emphasis in original).

      The only offenses which may serve as predicate acts under RICO are the ones

listed in 18 U.S.C. § 1961. See Omnipol, a.S. v. Worrell, 421 F. Supp. 3d 1321, 1349-50

(M. D. Fla. 2019). “[I]n order to survive a motion to dismiss, a plaintiff must allege

facts sufficient to support each of the statutory elements for at least two of the

pleaded predicate acts.” Republic of Panama v. BCCI Holdings (Lux.) S.A., 119 F.3d 935,

949 (11th Cir. 1997).

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      In the Amended Complaint, Plaintiff attempts to list out alleged facts

constituting pattern of racketeering activity under the section titled “The RICO

Pattern of Racketeering Activity”. But the vast majority of these allegations are

merely legal conclusions or unjustified inferences. The Greenberg Dental Defendants

are mentioned only twice in this section spanning from paragraphs 49-232. In the

first instance, Plaintiff alleges that “[a]ccording to Greenberg, Andrew and Sue

Greenberg and Greenberg Dental and AWG also agreed with Joel Greenberg and

Abby Greenberg to pay any amounts necessary to obtain the pardon or firing of the

prosecutor that Joel Greenberg was attempting to extort Dorworth and Gaetz to seek

on his behalf.” Doc. 62 ¶ 102. One glaring issue with this allegation it is based not on

actual facts, but instead based on what Dorworth purportedly heard from Joel

Greenberg. This is not enough to satisfy Twombly. See D. P. v. School Board of Palm

Beach County, No. 21-81099-CIV-CANNON/Reinhart 2023 WL 2178384, at *4

(S.D. Fla. Sep. 23, 2023) (“Factually unsupported allegations based ‘on information

and belief’ are not entitled to the assumption of truth.”) (quoting Scott v. Experian Info.

Sols., Inc., No. 18-CV-60178, 2018 WL 3360754, at *6 (S.D. Fla. June 29, 2018)

(“allegations stated upon information and belief that do not contain any factual

support fail to meet the Twombly standard.”)).

      Plaintiff further alleges that “Andrew and Sue Greenberg, as well as AWG

and Greenberg Dental, agreed to provide funding to compensate Abby Greenberg

and A.B. for providing false reports and testimony to the authorities and the federal

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grand jury.” Doc. 62 ¶ 126. This threadbare allegation fails to identify which

Greenberg Dental entity purportedly “agreed to provide funding” or who on behalf

of Greenberg Dental actually agreed to participate in these activities. And outside of

these two short, conclusory paragraphs, Dorworth identifies no other purrported acts

of racketeering allegedly committed by the Greenberg Dental Defendants. Dorworth

has alleged no facts sufficient to show that the Greenberg Dental Defendants did

anything that might remotely be considered a predicate act under RICO.

       Thus, Plaintiff fails to plead any facts which would establish that Greenberg

Dental agreed to engage in or engaged in at least two predicate acts of racketeering as

required to state a cause of action for RICO. Nor has he alleged that any of the other

Defendants except perhaps for Joel Greenberg did so. Despite the seriousness of his

claims and the highly punitive nature of the relief he seeks, Plaintiff has literally

made no effort at all to allege any predicate acts of racketeering that might plausibly

state a cause of action for RICO violations.

       B.      Dorworth has not alleged that the Greenberg Dental Defendants
               agreed to violate RICO.

       Even if Doworth had alleged a viable substantive RICO violation, his federal

and state RICO conspiracy claims against Greenberg Dental still fail to state a cause

of action.8 To state a claim for civil RICO conspiracy, a plaintiff “must allege facts to


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  Florida's RICO law “is informed by case law interpreting the federal RICO statute ... on which
Chapter 772 is patterned.” Jones v. Childers, 18 F.3d 899, 910 (11th Cir.1994) (internal citation
omitted). Because “Florida courts often look to the Federal RICO decisions for guidance in
interpreting and applying the act[,]” Fla. Software Sys., Inc. v. Columbia/HCA Healthcare Corp., 46
F.Supp.2d 1276, 1284 (M.D.Fla.1999), the analysis applied to Plaintiff’s federal RICO claim in
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support an agreement to violate a substantive provision of the RICO statute.” Carter

v. MGA, Inc., 189 Fed. Appx. 893, 894 (11th Cir. 2006) (“But plaintiffs alleged no

facts to show or to create a reasonable inference that Defendants made an agreement.

Plaintiff's conclusory allegations that Defendants conspired with each other are

insufficient to survive a motion to dismiss.”). “Allegations that the defendants

‘should have known’ is not enough to establish conspiracy, which is a crime of

specific intent.” Singh v. NVCTL 2009-A Tr., 14 CIV-2558, 2016 WL 3962009, at *10

((S.D.N.Y. July 20, 2016).

       The Amended Complaint contains no factual allegations to show that the

Greenberg Dental Defendants ever agreed to the alleged conspiracy consisting of “a

common purpose of mitigating Joel and others’ criminal liability by falsely

implanting others.”9 Doc. 62 ¶ 265. Instead, as explained above, the best Dorworth

can offer are vague and conclusory allegations that Greenberg Dental provided funds

to support the Greenberg family. His generic allegations do not infer that the

Greenberg Dental Defendants knowingly agreed to a RICO conspiracy.

        For example, Dorworth alleges that the Greenberg Dental Defendants

“agreed with Joel Greenberg and Abby Greenberg to pay any amounts necessary to

obtain the pardon or firing of the prosecutor” and “agreed to provide funding to

Count II is equally applicable to his state RICO claim in Count IV of the Amended Complaint. See
All Care Nursing Serv., Inc. v. High Tech Staffing Servs., Inc., 135 F.3d 740, 745 (11th Cir.1998)
(“Florida's RICO statutes have consistently been interpreted using federal RICO claim cases.”).
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 The Amended Complaint does not allege that the Greenberg Dental Defendants agreed to commit
two predicate acts under RICO, but even it if had, Dorworth has failed to specify any RICO
predicate act attributable to the Greenberg Dental Defendants.
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compensate Abby Greenberg and A.B. for providing false reports and testimony to

the authorities and the federal grand jury.” Doc. 62 ¶¶ 102, 126. But these sparse and

conclusory allegations are unsupported by actual allegations of fact which would

create a reasonable inference that anyone acting on behalf of the Greenberg Dental

Defendants ever entered into such an agreement.

      There are also no allegations in the Amended Complaint that the Greenberg

Dental Defendants benefitted in any way from the alleged RICO violations. To the

extent Dorworth is trying (but failing) to allege that the Greenberg Dental

Defendants are vicariously liable for an employee’s violation of RICO, he must

allege that they derived some benefit from the violations. See Coquina Investments,

2011 WL 4971923, at *8 (S.D. Fla. Oct. 19, 2011) (under agency rules, a corporation

not liable for its employees’ RICO violations unless they were committed in the

course of their employment and the employer is benefitted by the violation); see also

Brady v. Dairy Fresh Prods. Co., 974 F.2d 1149, 1154 (9th Cir.1992) (“We hold that an

employer that is benefited by its employee or agent's violations of section 1962(c)

may be held liable under the doctrines of respondeat superior and agency when the

employer is distinct from the enterprise.”). No such allegation can be found

anywhere in the Amended Complaint.

      Under controlling Eleventh Circuit cases, Dorworth’s conclusory allegations

do not show that the Greenberg Dental Defendants knowingly joined in a RICO

conspiracy. See O’Malley v. O’Neil, 887 F.2d 1557, 1560 (11th Cir. 1989) (affirming

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dismissal of RICO conspiracy claim where “no facts were alleged that would

indicate that [defendants] were willing participants in a conspiracy”). Instead, they

“are the kinds of ‘formulaic recitations’ of a conspiracy claim that the Court in

Twombly and Iqbal said were insufficient.” American Dental Ass’n v. Cigna Corp., 605

F.3d 1283, 1291 (11th Cir. 2010) (dismissing RICO conspiracy claim where Plaintiff’s

allegations “[did] not support an inference of an agreement to the overall objective of

the conspiracy or an agreement to commit two predicate acts”) (citations omitted).

Because Doworth has alleged no facts sufficient to infer the existence of an

agreement, his RICO conspiracy claims against the Greenberg Dental Defendants

should be dismissed.

      II.    Dorworth’s other state law claims should be dismissed.

      Dorworth’s state law claims against the Greenberg Dental Defendants in

Counts VI and VII of the Amended Complaint for aiding and abetting defamation

and civil conspiracy are insufficiently pled and also should be dismissed.

      A.     Dorworth fails to plead aiding and abetting defamation.

      To state a claim of aiding and abetting, Plaintiff must allege: “(1) an

underlying violation on the part of the primary wrongdoer; (2) knowledge of the

underlying violation by the alleged aider and abetter; and (3) the rendering of

substantial assistance in committing the wrongdoing by the alleged aider and




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abettor.”10 Id. at 543–44 (quoting Lawrence v. Bank of Am., N.A., 455 F. App’x 904,

906 (11th Cir. 2012)). Aid-and-abetting liability is not “boundless,” rather “courts

have long recognized the need to cabin” such “liability to cases of truly culpable

conduct.” Twitter, Inc. v. Taamneh, 143 S. Ct. 1206, 1220 (2023). Such “culpability . .

. is necessary” or else “passive actors like banks [will] become liable for all their

customers’ crimes by virtue of carrying out routine transactions.” Id. at 1215.

       Plaintiff’s aiding and abetting claims against Greenberg Dental fail because,

assuming Joel Greenberg or A.B. committed the underlying tort of defamation,

Plaintiff has not (and cannot) allege that the Greenberg Dental Defendants knew

about their alleged defamatory actions and provided substantial assistance to

advance those actions. Dorworth’s allegation that the Greenberg Dental Defendants

“possessed knowledge of Joel Greenberg, Abby Greenberg, and A.B.’s defamation”

(Doc. 62 ¶ 459) is a mere legal conclusion rather than a fact. Similarly, Dorworth’s

allegation that the Greenberg Dental Defendants “provided substantial assistance to

Joel Greenberg and A.B. by providing financial resources to enable the defamatory

actions, among other actions” (Doc. 62 ¶ 460) is far too remote to state a claim.

Dorworth does not, and cannot, sufficiently allege the Greenberg Dental Defendants

knew about and substantially assisted in the defamatory statements allegedly made

about Dorworth.

       In a seemingly desperate attempt to make a claim against the Greenberg
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  The Greenberg Dental Defendants could find no Florida case that recognizes a claim for aiding
and abetting defamation. For this Motion, we assume, without conceding, that such a tort exists in
Florida.
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Dental Defendants, Plaintiff equates being a profitable, successful dental company,

and providing a source of income to its owners, as “substantial assistance” to the

alleged defamation. Doc. 62 ¶ 460. The mere fact that the Greenbergs used income

derived from Greenberg Dental to support their adult son does not impose strict

liability on the Greenbergs or Greenberg Dental for whatever torts Joel may have

committed. Indeed, providing “any assistance of any kind” is not sufficient to create

liability. See Twitter, 143 S. Ct. at 1220. For example, in ZP No. 54 Ltd. P’ship v. Fid. &

Deposit Co. of Md., a developer alleged that the surety which issued a performance

bond aided and abetted a bid-rigging scheme. 917 So. 2d 368, 369 (Fla. 5th DCA

2005). Rejecting this theory outright, the Fifth DCA held that the surety did not

provide substantial assistance to advance the fraud because the surety simply did

what sureties do—issue performance bonds—and did not have any duty to third

parties to “look behind the contract” to determine if fraud was being committed. Id.

at 373–75.

       Plaintiff makes the same kind of allegations that were rejected in ZP No. 54

Ltd. P’ship. Same as performance bonds did not advance an alleged fraud, being a

profitable dental practice did not advance an alleged defamation. Merely providing

financial support does not constitute material assistance to all tortious action the

ultimate recipient of the funds might later commit. See Carney, 751 So. 2d at 654;

Knight v. Merhige, 133 So. 3d 1140, 1151 (Fla. 4th DCA 2014) (rejecting extension of

liability of parent over adult child, holding that, as a public policy matter, “[f]amilies

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should be encouraged to include a troubled family member in the family circle” and

that imposing a legal duty to the family of such children would “discourage families

from providing a haven to troubled relatives for fear of civil liability”). The

Greenberg Dental Defendants did not assume a legal duty to protect Dorworth

merely by providing income that was used for Joel’s defense. Dorwroth’s aiding and

abetting claim is completely implausible and should be dismissed.

      B.      Plaintiff fails to plead civil conspiracy.

       Dorworth’s state law claim for civil conspiracy is likewise implausible. The

civil conspiracy claim should be dismissed because Dorworth has failed to

adequately allege the existence of a conspiracy.

       Plaintiff’s claim for civil conspiracy against the Greenberg Dental Defendants

(Count VII) should be dismissed because Plaintiff has not alleged facts sufficient to

reasonably infer the existence of a conspiracy to defame Dorworth. A civil

conspiracy only exists when two or more persons agree to commit a separately

actionable underlying tort or wrong that injures the plaintiff. Buckner v. Lower Fla.

Keys Hosp. Dist., 403 So. 2d 1025, 1027 (Fla. 1981); Cedar Hills Props. Corp. v. Eastern

Federal Corp., 575 So. 2d 673, 676 (Fla. 1st DCA 1991). Stating a claim requires

“clear, positive and specific allegations; general allegations of conspiracy are not

sufficient.” Parisi v. Kingston, 314 So. 3d 656, 661 (Fla. 3d DCA 2021). A plaintiff

must allege the scope of the conspiracy, its participants, and when the agreement

occurred. See In re Chiquita Brands Intern., Inc. Alien Tort Stat. & S’holder Deriv. Litig.,

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690 F. Supp. 2d 1296, 1311 (S.D. Fla. 2010). And, in pleading a conspiracy, a bare

assertion of an agreement, mere knowledge of the wrongful conduct, or an

association with conspirators is insufficient to make that claim plausible. See Honig v.

Kornfeld, 339 F. Supp. 3d 1323, 1345–46 (S.D. Fla. 2018). Even parallel conduct

among parties cannot support a plausible inference of an agreement. Almanza v.

United Airlines, Inc., 851 F.3d 1060, 1068 (11th Cir. 2017); Honig, 339 F. Supp. 3d at

1345 (“Without more, parallel conduct does not suggest conspiracy, and a

conclusory allegation of agreement at some unidentified point does not supply facts

adequate to show illegality.”).

      Contrary to this requirement, Plaintiff has not alleged any facts, much less

clear, positive, and specific facts, that would infer the existence of an agreement

between the Greenberg Dental Defendants and any of the other Defendants to

conspire to “create, finance, and disseminate false information about [Plaintiff].”

Doc. 62 ¶ 466. The Complaint is devoid of allegations related to the scope of the

conspiracy, its participants, when the agreement occurred, or what the terms of the

alleged agreement wre. Simply saying the Defendants conspired does not make it so.

Plaintiff’s sole allegation that the Greenberg Dental Defendants were the source of

income for the Greenbergs falls far short of supporting a civil conspiracy claim.

Because the Amended Complaint alleges no facts to infer the existence of a




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defamation conspiracy, Dorworth’s claim for civil conspiracy must be dismissed.11

                                    V.      CONCLUSION

       For the foregoing reasons, Greenberg Dental requests an order dismissing, the

RICO claims in Counts II and IV and state law claims in Counts VI-VII for failure to

state a cause of action.

                         LOCAL RULE 3.01(g) CERTIICATION

       Pursuant to Local Rule 3.01(g), I conferred with counsel for Plaintiff via

phone on August 28, 2023, and Plaintiff opposes this Motion to Dismiss.

                                               /s/ Michael J. Furbush
       Dated: August 29, 2023

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  Plaintiff’s conspiracy claim also fails because his underlying defamation claim fails. See Ovadia v.
Bloom, 756 So. 2d 137, 140 (Fla. 3d DCA 2000). First, Plaintiff does not identify the who, where,
when, and what of the defamatory statements he alleges. Jackson v. N. Broward Cnty. Hosp. Dist., 766
So. 2d 256, 257 (Fla. 4th DCA 2000). Plaintiff likely does so because those statements are either
time barred, see Ashraf v. Adventist Health Sys./Sunbelt, Inc., 200 So. 3d 173, 174–75 (Fla. 5th DCA
2016), or privileged, see Fridovich v. Fridovich, 598 So. 2d 65, 69 (Fla. 1992).
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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 29, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will send

notice of electronic filing to all CM/ECF participants.


                                        /s/ Michael J. Furbush
                                        Michael J. Furbush




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